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Donald Hager
57 Washington A venue                                                                                .. ·.. ; !
Leonardo, New Jersey 07737                                                                           J,~J~t-\SEY
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Telephone: (732) 872-8746
                                                                               ZJi&
Plaintiff Pro Se




                               UNITED STATES DISTRICT COURT

                                    DISTRICT OF NEW JERSEY

DONALD HAGER, an individual,                         ) Civil Action No.:
                                                     )
                Plaintiff,                           )
    v.                                               ) COMPLAINT
                                                     )
CITIMORTGAGE, INC., a New York                       )
corporation; SELENE FINANCE, LP, a                   )
Delaware Limited Partnership; and DOES 1             )
through 100, inclusive,                              )
                                                     )
                Defendants.                          )



         COMES NOW Plaintiff DONALD HAGER ("Plaintiff') and complains as follows:

                              I.       JURISDICTION AND VENUE

         1.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. Sections 1332(a)

because the amount in controversy exceeds $75,000 and no Plaintiff shares a state of citizenship

with any Defendant.

         2.     The Court is the proper venue for this action under 28 U.S.C. Section 1391

because one or more of the Defendants either resides in or maintains executive offices in this

district and all of the relevant real estate is located in this county.

                                           II.     PARTIES

         3.     Plaintiff was and at all times herein mentioned is, a resident of the County of

Monmouth in the State of New Jersey and the lawful owner of a parcel of real property




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commonly known as 57 Washington Avenue, Leonardo, New Jersey 07737 (hereinafter

"Subject Property").

        4.      At all times herein mentioned, Defendants CITIMORTGAGE, INC. (hereinafter

"Citi"), is and was, a New York corporation and at all times herein mentioned was conducting

ongoing business in the state of New Jersey and claims an interest adverse to the rights, title, and

interests of Plaintiff in Subject Property.

        5.     At all times herein mentioned, Defendant SELENE FINANCE, LP (hereinafter

"Selene"), is and was, a Delaware limited partnership, with headquarters and a principle place of

business in Texas, and at all times herein mentioned was conducting ongoing business in the

state of New Jersey and claims an interest adverse to the rights, title and interests of Plaintiff in

Subject Property.

                               III.    FACTUAL ALLEGATIONS
                  THE HOME AFFORDABLE MODIFICATION PROGRAM

        6.      On October 3, 2008, Congress passed the Emergency Economic Stabilization Act

of 2008, which was later amended with the American Recovery and Reinvestment Act of 2009

on February 17, 2009 (collectively, the "Act").

        7.     The Act granted the Secretary of the Treasury the authority to restore stability to

the financial system, and ensured that this authority is used to protect home values and preserve

homeownership.

        8.     The Act gave the Secretary of the Treasury the authority to establish the Troubled

Asset Relief Program, (hereinafter, "TARP").

        9.     Congress provided up to $700 billion to the United States Department of the

Treasury for funding TARP.




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        10.    The Act required that the Secretary take into consideration the "need to help

families keep their homes and to stabilize communities."

        11.    Furthermore, The Act required that the Secretary "maximize assistance for

homeowners" and use its authority over servicers to "minimize foreclosures."

        12.    On February 18, 2009, the Treasury Secretary and the Director of the Federal

Housing Finance Agency announced the Making Home Affordable program (hereinafter,

"HAMP").

        13.    HAMP creates and implements uniform loan modification procedures.

        14.    HAMP is funded by the federal government with TARP funds. At least $75

billion was allocated to HAMP.

        15.    Under HAMP, the federal government provides incentives to participating loan

servicers to enter into agreements with struggling homeowners that will make modifications to

existing mortgage obligations in order to make the homeowner's monthly payments more

affordable to the homeowner.

                            CITI'S BROKEN PROMISES UNDER HAMP

        16.    Citi has routinely failed to offer permanent modifications to homeowners even

though many homeowners had submitted the required documentation. A failure to modify under

the HAMP guidelines has caused many homeowners to lose their homes in foreclosure.

        17.    Aware of the reprehensible practices taking place by mortgage lenders and Joan

servicers, 49 state attorney generals and the federal government took action against the nation's

largest service providers, including Citi. In February of 2012, a settlement was reached. The

settlement, known as The National Mortgage Settlement, was the largest consumer financial

protection settlement in the history of the United States (hereinafter, "NMS").




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            18.   The NMS addressed many violations of law committed by Citi and the nation's

largest lenders, as well as provided widespread relief to borrowers of these institutions, including

restitution payments to those that wrongfully lost their homes to foreclosure at the hands of these

lending institutions.

            19.   On April4, 2012, a consent order agreeing to the terms of the NMS (which

essentially has the same effect as a court order) was signed by Citi and filed in the United States

District Court for the District of Columbia. See Exhibit 1.

                                 PLAINTIFF, CITI, AND SELENE
         20.      On or about May 6, 2008, Plaintiff was approved for a mortgage loan from Citi in

roughly the amount of $195,000 ("the Loan"). Plaintiff subsequently executed a mortgage note

and deed of trust, causing the Loan to be secured by the Subject Property. Citi held such security

interest.

         21.      Subsequent to the creation of the loan, Plaintiff endured a number of financial

difficulties, causing Plaintiff to become delinquent on the Loan.

         22.      On or about July 7, 2015, Citi offered Plaintiff a trial mortgage modification

entailing a 6.5% interest rate and three monthly payments of $2,746.43 due August 1, 2015;

September 1, 2015; and October 1, 2015 respectively ("Citi Trial Mod"). See Exhibit 2.

Plaintiff timely made all of the modification payments required by the Citi Trial Mod.

         23.      On or about September 17, 2015, Citi sent Plaintiff a billing statement stating that

out of the $2,746.43 October 1, 2015 trial payment, $389.35 was to be applied to principal,

$2,075.71 was to be applied to interest, $281.37 was to be "unapplied." Furthermore, the billing

statement reflected an outstanding principal balance of $191,311.80. See Exhibit 3.

         24.      On or about October 16, 2015, Citi sent a written correspondence to Plaintiff




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indicating Citi intended to modify the Loan. The modification included a principal balance of

$307,931.05, a 6.5% interest rate, and a monthly payment of $1,802.80 ("Permanent Mod"). The

Permanent Mod recapitalized all past amounts that were due prior to October 16, 2016. See

Exhibit 4. Plaintiff subsequently sought information from Citi as to why the Loan's principal

balance increased by $116,619.25 in less than one month. To date, Citi has not provided detailed

accounting or explanation as to why the Loan's principal balance increased by $116,619.25 in

less than one month.

        25.    On or about December 1, 2015, Citi transferred the Loan's servicing rights to

Selene. Though Plaintiff properly performed his obligations with respect to the Citi Trial Mod

agreement, Selene refused to honor the Permanent Mod provided by Citi.

        26.    On or about February 19, 2016, Selene offered Plaintiff a trial modification

requiring Plaintiff to make a $6,000.00 payment towards the Loan's "suspense" by February 20,

2016, and three additional trial payments of $2,885.86 by April 1, 2016; May 1, 2016; and June

1, 2016 respectively ("Selene Trial Mod"). See Exhibit 5. The Selene Trial Mod attempted to

bill Plaintiff for past escrow amounts when the Permanent Mod had originally recapitalized all

past amounts that were due prior to October 16, 2016.

        27.    On or about February 23, 2016, Plaintiff sent a written correspondence to Selene

constituting a "qualified written response" requesting pertinent documents pertaining to the

servicing of the Loan per 12 U.S.C. §2605. To date, Selene has failed to respond to Plaintiffs

qualified written request by failing to provide the Loan's original application, good faith

estimate, HUD-1 settlement statement, truth in lending disclosure statement, current promissory

note recorded showing lienholder, and affidavit of debt. To date, Selene has refused to provide

Plaintiff with the requested documentation. See Exhibit 6.




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        28.    Plaintiff has requested that both Citi and Selene provide a detailed accounting

demonstrating how all past payments made towards the Loan have been applied. To date, both

Citi and Selene have refused to provide a detailed accounting demonstrating how all past

payments made towards the Loan have been applied.

        29.    Additionally, Selene has forced placed an insurance policy on the Loan. Since

Plaintiff maintains a separate homeowner's insurance policy, Plaintiffhas requested Selene

remove the force placed insurance policy to no avail.

        30.    Plaintiff has requested Selene disclose the identity of the current investor of the

Loan so that Plaintiff could properly enforce his legal rights against all relevant parties. To date,

Selene has refused to provide the name of the current investor of the Loan.

        31.    The Subject Property currently holds over $80,0000 in equity and profiting from

such equity has motivated Defendants to impede foreclosure alternatives and induce the

foreclosure of the Subject Property.

                                  IV.     CAUSES OF ACTION

                                             COUNT 1
          Violation of Real Estate Settlement Procedures Act (RESPA), 12 U.S. C. §2605

                                              (Selene)

        32.    Plaintiff realleges and incorporate by reference paragraphs 1 to 31 of this

Complaint.

        33.    Defendant Selene is a servicer of the Loan, a federally related mortgage loan

within the meaning ofRESPA, 12 U.S.C. §2605.

        34.    Selene is a debt collector under the meaning of 12 U.S.C. §2605.

        35.    On or about February 23, 2016, Plaintiff sent a written correspondence to Selene




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constituting a "qualified written response" requesting pertinent documents pertaining to the

servicing of the Loan per 12 U.S.C. §2605. To date, Selene has failed to respond to Plaintiffs

qualified written request by failing to provide the Loan's original application, good faith

estimate, HUD-1 settlement statement, truth in lending disclosure statement, current promissory

note recorded showing lienholder, and affidavit of debt. Plaintiffs written requests for

information about Plaintiffs account and requests for validation pertained to the servicing of the

Loan and were "qualified written requests" within the meaning ofRESPA.

         36.    Defendant deliberately failed to respond in a proper and timely way to Plaintiffs

"qualified written requests" for information, in violation of 12 U.S.C. §2605(e).

         37.    Plaintiff suffered damages as a result of Selene's failure to respond to Plaintiffs

qualified written requests for information. Defendant's failure to respond to Plaintiffs qualified

written requests have prevented Plaintiff from obtaining the proper documentation that would

inform Plaintiff of his legal rights.

         38.    WHEREFORE, Plaintiff demands judgment against Defendants for actual,

statutory, treble and/or punitive damages, and attorney's fees and costs, along with any other and

further relief as the court deems just and proper, pursuant to 12 U.S.C. §2605.

                                             COUNT2
               Violation of New Jersey Consumer Fraud Act N.J.S.A. 56:8-1 et seq.

                                          (All Defendants)

         39.    Paragraphs 1 through 38 are realleged as though fully set forth herein.

         40.    N.J.S.A. 56:8-1 et seq., ("CFA") prohibits "the act, use or employment by any

person of any unconscionable commercial practice, deception, fraud, false pretense, false

promise, misrepresentation, or the knowing, concealment, suppression, or omission of any

material fact with intent that others rely upon such concealment, suppression or omission, in



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connection with the sale or advertisement of any merchandise or real estate, or with the

subsequent performance of such person as aforesaid, whether or not any person has in fact been

misled, deceived, or damaged thereby ... "

         41.      Defendants made deceptive misrepresentations in the following manners:

               a. On or about July 7, 2015, Citi offered Plaintiff a trial mortgage modification

                  entailing a 6.5% interest rate and three monthly payments of $2,746.43 due

                  August 1, 2015; September 1, 2015; and October 1, 2015 respectively ("Citi Trial

                  Mod"). See Exhibit 2. Plaintiff timely made all of the modification payments

                  required by the Citi Trial Mod.

               b. On or about September 17, 2015, Citi sent Plaintiff a billing statement stating that

                  out of the $2,746.43 October 1, 2015 trial payment, $389.35 was to be applied to

                  principal, $2,075.71 was to be applied to interest, $281.37 was to be "unapplied."

                  Furthermore, the billing statement reflected an outstanding principal balance of

                  $191,311.80. SeeExhibit3.

               c. On or about October 16, 2015, Citi sent a written correspondence to Plaintiff

                  indicating Citi intended to modify the Loan. The modification included a

                  principal balance of $307,931.05, a 6.5% interest rate, and a monthly payment of

                  $1,802.80 ("Permanent Mod"). The Permanent Mod recapitalized all past

                  amounts that were due prior to October 16, 2016. See Exhibit 4. Plaintiff

                  subsequently sought information from Citi as to why the Loan's principal balance

                  increased by $116,619.25 in less than one month. To date, Citi has not provided

                  detailed accounting or explanation as to why the Loan's principal balance

                  increased by $116,619.25 in less than one month.




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         d. On or about December 1, 2015, Citi transferred the Loan's servicing rights to

              Selene. Though Plaintiff properly performed his obligations with respect to the

              Citi Trial Mod agreement, Selene refused to honor the Permanent Mod provided

              by Citi.

         e. On or about February 19, 2016, Selene offered Plaintiff a trial modification

              requiring Plaintiff to make a $6,000.00 payment towards the Loan's "suspense"

              by February 20, 2016, and three additional trial payments of $2,885.86 by April 1,

              2016; May 1, 2016; and June 1, 2016 respectively ("Selene Trial Mod"). See

              Exhibit 5. The Selene Trial Mod attempted to bill Plaintiff for past escrow

              amounts when the Permanent Mod had originally recapitalized all past amounts

              that were due prior to October 16, 2016.

         f.   On or about February 23, 2016, Plaintiff sent a written correspondence to Selene

              constituting a "qualified written response" requesting pertinent documents

              pertaining to the servicing of the Loan per 12 U.S.C. §2605. To date, Selene has

              failed to respond to Plaintiffs qualified written request by failing to provide the

              Loan's original application, good faith estimate, HUD-1 settlement statement,

              truth in lending disclosure statement, current promissory note recorded showing

              lienholder, and affidavit of debt. To date, Selene has refused to provide Plaintiff

              with the requested documentation. See Exhibit 6.

         g. Plaintiff has requested that both Citi and Selene provide a detailed accounting

              demonstrating how all past payments made towards the Loan have been applied.

              To date, both Citi and Selene have refused to provide a detailed accounting

              demonstrating how all past payments made towards the Loan have been applied.




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                h. Additionally, Selene has forced placed an insurance policy on the Loan. Since

                     Plaintiff maintains a separate homeowner's insurance policy, Plaintiff has

                     requested Selene remove the force placed insurance policy to no avail.

                1.   Plaintiff has requested Selene disclose the identity of the current investor of the

                     Loan so that Plaintiff could properly enforce his legal rights against all relevant

                     parties. To date, Selene has refused to provide the name of the current investor of

                     the Loan.

                J.   The Subject Property currently holds over $80,0000 in equity and profiting from

                     such equity has motivated Defendants to impede foreclosure alternatives and

                     induce the foreclosure of the Subject Property.

                k. Such misrepresentations were made with the intent to deceive Plaintiff and induce

                     Plaintiff's reliance upon the misrepresentations.

          42.        Plaintiff justifiably relied on Defendants' omissions and deceptive practices and

 suffered damages as a result.

          43.        Defendants' statements were directly related to mortgage loans and thus affect

 commerce, falling within the scope of the CFA.

          44.        Plaintiff was damaged as a result Defendants' misconduct because Plaintiff has

 been forced to pay amounts towards the Loan that are higher than the contractually agreed

 amounts. Defendants' refusal to modify the Loan payments at the contractually agreed upon

 amounts have caused Plaintiff to lose equity in the Subject Property, pay unnecessary interest to

 Defendants, and incur monetary damages in an amount to be determined. As a result,

 Defendants have been unjustly enriched and Plaintiff has suffered embarrassment in his

 community and the slander of his reputation due to the fact that illegitimate foreclosure




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 proceedings have been attributed to him and reported to credit reporting agencies and bureaus.

 Moreover, Plaintiff has suffered severe anxiety and severe emotional distress due to his home

 being illegitimately foreclosed upon.

                                             COUNT3
                                          Breach of Contract
          45.   Plaintiff realleges and incorporates by reference paragraphs 1 to 44 of this
 Complaint.
          46.   On or about July 7, 2015, Citi offered Plaintiff a trial mortgage modification

 entailing a 6.5% interest rate, requiring Plaintiff to make three monthly payments of $2,746.43

 due August 1, 2015; September 1, 2015; and October 1, 2015 respectively ("Citi Trial Mod").

          47.   Plaintiff timely made all of the modification payments required by the Citi Trial

 Mod. Such payments constituted the acceptance of Citi' s offer and created an agreement.

          48.   On or about October 16, 2015, Citi sent a written correspondence to Plaintiff

 indicating Citi intended to modify the Loan. The modification included a principal balance of

 $307,931.05, a 6.5% interest rate, and a monthly payment of $1,802.80 ("Permanent Mod"). The

 Permanent Mod recapitalized all past amounts that were due prior to October 16, 2016. See

 Exhibit 4. Plaintiff subsequently sought information from Citi as to why the Loan's principal

 balance increased by $116,619.25 in less than one month. To date, Citi has not provided detailed

 accounting or explanation as to why the Loan's principal balance increased by $116,619.25 in

 less than one month.

          49.   On or about December 1, 2015, Citi transferred the Loan's servicing rights to

 Selene. Though Plaintiff properly performed his obligations with respect to the Citi Trial Mod

 agreement, Selene refused to honor the Permanent Mod provided by Citi.

          50.   On or about February 19, 2016, Selene offered Plaintiff a trial modification




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 requiring Plaintiff to make a $6,000.00 payment towards the Loan's "suspense" by February 20,

 2016, and three additional trial payments of $2,885.86 by April 1, 2016; May 1, 2016; and June

 1, 2016 respectively ("Selene Trial Mod"). The Selene Trial Mod attempted to bill Plaintiff for

 past escrow amounts when the Permanent Mod had originally recapitalized all past amounts that

 were due prior to October 16, 2016.

         51.    As an actual and proximate cause of Citi' s breach, Plaintiff was damaged.

         52.    Plaintiff was damaged as a result Defendant's breach because Plaintiff has been

 forced to pay amounts towards the Loan that are higher than the contractually agreed amounts.

 Defendant's refusal to modify the Loan payments at the contractually agreed upon amounts have

 caused Plaintiff to lose equity in the Subject Property, pay unnecessary interest to Defendant, and

 incur monetary damages in an amount to be determined. As a result, Defendant has been

 unjustly enriched and Plaintiff has suffered embarrassment in his community and the slander of

 his reputation due to the fact that illegitimate foreclosure proceedings have been attributed to him

 and reported to credit reporting agencies and bureaus. Moreover, Plaintiff has suffered severe

 anxiety and severe emotional distress due to his home being illegitimately foreclosed upon.

                                             COUNT4
                                               Fraud
                                          (All Defendants)
         53.    Plaintiff realleges and incorporates by reference paragraphs 1 to 52 of this
 Complaint.
         54.    Fraud occurs under any of the following circumstances: When there is an

 affirmative misrepresentation- the suggestion, as a fact, of that which is not true by one who

 does not believe it to be true; a concealment or half truth- the suppression of a fact, by one

 who is bound to disclose it or who gives information of other facts which are likely to mislead




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 for want of communication of that fact; or a false promise -        a promise made without any

 intention of performing it.

         55.        Fraud also occurs when a defendant makes an untrue representation of a material

 fact without a reasonable ground for its truth or in a manner not warranted by the available

 information. Such a representation must be made with the intent that the plaintiff would and did

 rely on it, to his or her detriment and harm.

        56.         In this matter, Defendants affirmatively misrepresented material facts and made

 omissions of material facts, knowing that their representations were false and by making its

 representations and omissions without reasonable grounds, with the intent that Plaintiffs would

 rely on its misrepresentations, all to Plaintiff's harm.

         57.        These affirmative misrepresentations and omissions were made knowingly by

 Defendants through their customer services representatives and agents.

        58.         Defendants perpetrated their fraud in actions which included but were not limited

 to the following activities, and as described with specificity in the factual allegations of this

 claim and the aforementioned factual statements:

               1.   On or about July 7, 2015, Citi offered Plaintiff a trial mortgage modification

                    entailing a 6.5% interest rate and three monthly payments of $2,746.43 due

                    August 1, 2015; September 1, 2015; and October 1, 2015 respectively ("Citi Trial

                    Mod"). See Exhibit 2. Plaintiff timely made all of the modification payments

                    required by the Citi Trial Mod.

               m. On or about September 17, 2015, Citi sent Plaintiff a billing statement stating that

                    out of the $2,746.43 October 1, 2015 trial payment, $389.35 was to be applied to

                    principal, $2,075.71 was to be applied to interest, $281.37 was to be "unapplied."




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            Furthermore, the billing statement reflected an outstanding principal balance of

            $191,311.80. See Exhibit 3.

         n. On or about October 16, 2015, Citi sent a written correspondence to Plaintiff

            indicating Citi intended to modify the Loan. The modification included a

            principal balance of $307,931.05, a 6.5% interest rate, and a monthly payment of

            $1,802.80 ("Permanent Mod"). The Permanent Mod recapitalized all past

            amounts that were due prior to October 16, 2016. See Exhibit 4. Plaintiff

            subsequently sought information from Citi as to why the Loan's principal balance

            increased by $116,619.25 in less than one month. To date, Citi has not provided

            detailed accounting or explanation as to why the Loan's principal balance

            increased by $116,619.25 in less than one month.

         o. On or about December 1, 2015, Citi transferred the Loan's servicing rights to

            Selene. Though Plaintiff properly performed his obligations with respect to the

            Citi Trial Mod agreement, Selene refused to honor the Permanent Mod provided

            by Citi.

         p. On or about February 19, 2016, Selene offered Plaintiff a trial modification

            requiring Plaintiff to make a $6,000.00 payment towards the Loan's "suspense"

            by February 20, 2016, and three additional trial payments of $2,885.86 by April 1,

            2016; May 1, 2016; and June 1, 2016 respectively ("Selene Trial Mod"). See

            Exhibit 5. The Selene Trial Mod attempted to bill Plaintiff for past escrow

            amounts when the Permanent Mod had originally recapitalized all past amounts

            that were due prior to October 16, 2016.




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         q. On or about February 23, 2016, Plaintiff sent a written correspondence to Selene

              constituting a "qualified written response" requesting pertinent documents

              pertaining to the servicing of the Loan per 12 U.S.C. §2605. To date, Selene has

              failed to respond to Plaintiffs qualified written request by failing to provide the

              Loan's original application, good faith estimate, HUD-1 settlement statement,

              truth in lending disclosure statement, current promissory note recorded showing

              lienholder, and affidavit of debt. To date, Selene has refused to provide Plaintiff

              with the requested documentation. See Exhibit 6.

         r.   Plaintiff has requested that both Citi and Selene provide a detailed accounting

              demonstrating how all past payments made towards the Loan have been applied.

         s. To date, both Citi and Selene have refused to provide a detailed accounting

              demonstrating how all past payments made towards the Loan have been applied.

         t.   Additionally, Selene has forced placed an insurance policy on the Loan. Since

              Plaintiff maintains a separate homeowner's insurance policy, Plaintiffhas

              requested Selene remove the force placed insurance policy to no avail.

         u. Plaintiff has requested Selene disclose the identity of the current investor of the

              Loan so that Plaintiff could properly enforce his legal rights against all relevant

              parties. To date, Selene has refused to provide the name of the current investor of

              the Loan.

         v. The Subject Property currently holds over $80,0000 in equity and profiting from

              such equity has motivated Defendants to impede foreclosure alternatives and

              induce the foreclosure of the Subject Property.




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                w. Such misrepresentations were made with the intent to deceive Plaintiff and induce

                   Plaintiff's reliance upon the misrepresentations.

          59.      Defendants' agents intended for Plaintiff to rely on their misrepresentations.

          60.      Plaintiffs justifiably relied on all of Defendants' misrepresentations and omissions

 since Defendants are reputable mortgagees and loan servicers. In reliance upon Defendants'

 misrepresentations, Plaintiff made unnecessary payments to Defendants and avoided foreclosure

 alternatives (e.g., refinancing, deed in lieu of foreclosure, short sale, etc.).

          61.      Plaintiff was damaged as a result Defendants' misconduct because Plaintiff has

 been forced to pay amounts towards the Loan that are higher than the contractually agreed

 amounts. Defendants' refusal to modify the Loan payments at the contractually agreed upon

 amounts have caused Plaintiff to lose equity in the Subject Property, pay unnecessary interest to

 Defendants, and incur monetary damages in an amount to be determined. As a result,

 Defendants have been unjustly enriched and Plaintiff has suffered embarrassment in his

 community and the slander of his reputation due to the fact that illegitimate foreclosure

 proceedings have been attributed to him and reported to credit reporting agencies and bureaus.

 Moreover, Plaintiff has suffered severe anxiety and severe emotional distress due to his home

 being illegitimately foreclosed upon.

                                    V. DEMAND FOR JURY TRIAL

      Plaintiff requests a jury trial on all issues raised in the complaint.

                                    VI.     PRAYER FOR RELIEF

          WHEREFORE, Plaintiff prays as follows:

          1.       For the Court to issue a temporary restraining order, a preliminary injunction,

 and/or a permanent injunction enjoining Defendants and their agents from engaging in any

 foreclosure activity with respect to Subject Property.




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            2.   For the Court to enter judgment in favor of Plaintiff.

            3.   For the Court to order a detailed accounting of all payments made towards the

 Loan and how Defendants have applied such payments.

            4.   For the Court to award Plaintiff the monetary equivalent of attorney's fees and

 costs.

            5.   Special damages to account for Plaintiff's severe emotional distress.

            6.   Punitive damages.

            7.   For such other and further relief as the Court deems just and proper.

            8.

 June 9, 2016




                                                        Plaintiff Pro Se
                                                        57 Washington A venue
                                                        Leonardo, New Jersey 07737




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 AO 440 (Rev. 12/09) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                         District ofNew Jersey

              DONALD HAGER, an individual,
                                                                   )
                                                                   )
                              Plaintiff
                                                                   )
                                                                   )       Civil Action No.
CITIMORTGAGE, INC., a f<1ew York corporation;
                                                                   )
SELENE FINANCE, LP, a Delaware Limited Partnership;
                                                                   )
and DOES I through I 00, inclusive,  . - - · · · ··--
                             Defendant
                                                                   )


                                                   SUMMONS IN A CIVIL ACTION

 To: (Defendant's name and address)
                                          THE CORPORATION TRUST COMPANY
                                          AGENT FOR SELENE FINANCE, LP
                                          820 BEAR TAVERN ROAD
                                          WEST TRENTON, NJ 08628




           A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
 whose name and address are:
                                          DONALD HAGER
                                          57 Washington Avenue
                                          Leonardo, New Jersey 07737
                                          Telephone: (732) 872-8746



        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


 Date:                                                                                                                            ---


                                                                                             Signature of Clerk or Deputy Clerk
                                                                                                                          I
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AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name of individual and title, if any)
 was received by me on (date)

           0 I personally served the summons on the individual at (place)
                                                                                         ---------------------------------------
                                                                                         on (date)                           ; or
                      --···------····--·-··-----~·-----             --------~---




          0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date)                               ,   and mailed a copy to the individual's last known address; or

           0 I served the summons on (name of individual)                                                                               , who is
                                                                      - - · · · · --------

           designated by law to accept service of process on behalf of (name oforganization)
                                                                                         on (date)                           ; or

           0 I returned the summons unexecuted because                                                                                      ; or

          0 Other (specify):




           My fees are$                            for travel and $                          for services, for a total of$          0


           I declare under penalty of petjury that this information is true.


 Date:
                                                                                                     Server's signature



                                                                                                 Printed name and title




                                                                                                     Server's address


Additional information regarding attempted service, etc:
               I   II                                                             I 11   II


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 AO 440 (Rev. 12/09) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                         District of New Jersey

              DONALD HAGER, an individual,
                                                                    )
                                                                    )
                              Plaintiff
                                                                    )
                                                                    )      Civil Action No.
CITIMORTGAGE, INC., a f<tew York corporation;
                                                                    )
SELENE FINANCE, LP, a Delaware Limited Partnership;
                                                                    )
and DOES 1 through 100, inclusive,
                             Defendant
                                                                    )


                                                   SUMMONS IN A CIVIL ACTION

 To: (Defendant's name and address)
                                          THE CORPORATION TRUST COMPANY
                                          AGENT FOR CITIMORTGAGE, INC.
                                          820 BEAR TAVERN ROAD
                                          WEST TRENTON, NJ 08628




           A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
 whose name and address are:
                                          DONALD HAGER
                                          57 Washington Avenue
                                          Leonardo, New Jersey 07737
                                          Telephone: (732) 872-8746



        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


 Date:                                                                                                   - - - ·    --------
                                                                                          Signature of Clerk or Deputy Clerk
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AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))           '

           This summons for (name of individual and title, if any)
 was received by me on (date)

           0 I personally served the summons on the individual at (place)
                                                                                    on (date)                        ; or
                           ~~~      ·····~--     ----~-------         ..   ···--.



           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
                               -~---~·------~--




           on (date)                               ' and mailed a copy to the individual's last known address; or
                          -~~------···




          0 I served the summons on (name of individual)                                                                            , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                    on (date)                        ; or
                  ------~-~




           0 I returned the summons unexecuted because                                                                                  ; or

          0 Other (specify):




           My fees are$                            for travel and $                  for services, for a total of$              0


           I declare under penalty of peijury that this information is true.


Date:
                                                                                                Server's signature



                                                                                          Printed name and title




                                                                                                Server's address


Additional information regarding attempted service, etc:
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                        EXHIBIT 1
   I   II                                                        I ,1   II


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                                   IN THE UNITED STATES DISTRICT COURT                                I



                                                                                      FIL~D
                                       FOR THE DISTRICT OF COLUMBIA

                                                                                         APR .• 4 ,,012
                                                   )
                                                                                Clerk, u.s. 01stnct & ankruptcy
  UNITED STATES OF AMERICA,                        )                            Courts for the District f Columbia
  eta!.,                                           )
                                                   )                                                  I
                     Plaintiffs,                   )

            v.
                                                   )
                                                   )
                                                                             12 036.1
                                                   )     Civil Action No.
  BANK OF AMERICA CORP. eta!.,                     )
                                                                             ----
                                                   )
                    Defendants.                    )
                                                   )
                                                   )
                                                   )
                                                   )

 ____________________________ )                    )


                                          CONSENT JUDGMENT

             WHEREAS, Plaintiffs, the United States of America and the States of Alabama, Alaska,

   Arizona, Arkansas, California, Colorado, Connecticut, Delaware, Florida, Georgia, Hawaii,

   Idaho, Illinois, Indiana, Iowa, Kansas, Louisiana, Maine, Maryland, Michigan, Minnesota,

   Mississippi, Missouri, Montana, Nebraska, Nevada, New Hampshire, New Jersey, New Mexico,

   New York, North Carolina, North Dakota, Ohio, Oregon, Rhode Island, South Carolina, South

   Dakota, Tennessee, Texas, Utah, Vem1ont, Washington, West Virginia, Wisconsin, Wyoming,

   the Commonwealths of Kentucky, Massachusetts, Pennsylvania and Virginia, and the District of

   Columbia filed their complaint on March 12, 2012, alleging that Wells Fargo & Company and

   Wells Fargo Bank, N.A. (collectively, "Defendant") violated, among other laws, the Unfair and

   Deceptive Acts and Practices laws ofthe Plaintiff States, the False Claims Act, the Financial
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  Institutions Reform, Recovery. and Enforcement Act of 1989, the Servicemembers Civil Relie

  Act. and the Bankruptcy Code and Federal Rules of Bankruptcy Procedure:

           WHEREAS. the parties have agreed to resolve their claims without the need for

  litigation;

           WHEREAS. Defendant by its attorneys, has consented to entry of this Consent Judgment

  without trial or adjudication of any issue of fact or law and to waive any appeal if the Consent      I




  Judgment is entered as submitted by the parties;

           WHEREAS, Defendant by entering into this Consent Judgment does not admit the

  allegations of the Complaint other than those facts deemed necessary to the jurisdiction of this

  Court;

           WHEREAS, the intention of the United States and the States in effecting this settlement

  is to remediate harms allegedly resulting from the alleged unlawful conduct of the Defendant;

           AND WHEREAS, Defendant has agreed to waive service of the complaint and summons

  and hereby acknowledges the same;


           NOW THEREFORE. without trial or adjudication of issue of fact or law, without this

  Consent Judgment constituting evidence against Defendant, and upon consent of Defendant, the
  Court finds that there is good and sufficient cause to enter this Consent Judgment, and that it is:

  therefore ORDERED, ADJUDGED, AND DECREED:

                                       I.      JURISDICTION

           1.     This Court has jurisdiction over the subject matter of this action pursuant to 28

  U.S.C. §§ 1331, 1345, 1355(a), and 1367, and under 31 U.S.C. § 3732(a) and (b), and over

  Defendant. The Complaint states a claim upon which relief may be granted against Defendant.

  Venue is appropriate in this District pursuant to 28 U.S.C. § 139l(b)(2} and 31 U.S.C. § 3732(a).
                                                     2
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                                                                                                       !

                                  II.          SERVICING STANDARDS                                     I




          2.      Defendant shall comply with the Servicing Standards, attached hereto as      Exhi~t
   A. in accordance with their terms and Section A of Exhibit E. attached hereto.

                                        III.     FINANCIAL TERMS

          3.      Payment Settlement Amounts. Defendant shall pay into an interest bearing escrow

   account to be established for this purpose the sum of$1,005.233.716. which sum shall be added

   to funds being paid by other institutions resolving claims in this litigation (which sum shall be

   known as the "Direct Payment Settlement Amount'') and which sum shall be distributed in the

   manner and for the purposes specified in Exhibit B. Defendant's payment shall be made by

   electronic funds transfer no later than seven days after the Effective Date of this Consent

   Judgment. pursuant to written instructions to be provided by the United States Department of

   Justice. After Defendant has made the required payment, Defendant shall no longer have any

   property right, title, interest or other legal claim in any funds held in escrow. The interest

   bearing escrow account established by this Paragraph 3 is intended to be a Qualified Settlement

   Fund within the meaning ofTreasury Regulation Section 1.4688-1 of the U.S. Internal Revenue

   Code of 1986. as amended. The Monitoring Committee established in Paragraph 8 shall, in its

   sole discretion, appoint an escrow agent ("Escrow Agent'') who shall hold and distribute funds as

   provided herein. All costs and expenses of the Escrow Agent, including taxes, if any. shall be

   paid from the funds under its control. including any interest earned on the funds.

          4.      Payments to Foreclosed Borrowers. In accordance with written instructions from

  the State members of the Monitoring Committee. for the purposes set forth in Exhibit C, the

   Escrow Agent shall transfer from the escrow account to the Administrator appointed under


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  Exhibit C $1,489,813.925.00 (the "Borrower Payment Amount") to enable the Administrator

  provide cash payments to borrowers whose homes were finally sold or taken in foreclosure

  between and including January 1. 2008 and December 31. 2011 ; who submit claims for harm

  allegedly arising from the Covered Conduct (as that term is defined in Exhibit G hereto); and

  who otherwise meet criteria set forth by the State members of the Monitoring Committee. The

  Borrower Payment Amount and any other funds provided to the Administrator for these purpo s

  shall be administered in accordance with the terms set forth in Exhibit C.

            5.   Consumer Relief Defendant shall provide $3.434.000.000 of relief to consume s

  who meet the eligibility criteria in the forms and amounts described in Paragraphs 1-8 of Exhi

  D. and $903,000,000 of refinancing relief to consumers who meet the eligibility criteria in the

  forms and amounts described in Paragraph 9 of Exhibit D, to remediate harms allegedly cause

  by the alleged unlawful conduct of Defendant. Defendant shall receive credit towards such

  obligation as described in Exhibit D.

                                          IV. ENFORCEMENT

            6.   The Servicing Standards and Consumer Relief Requirements, attached as Exhibits

  A and D. are incorporated herein as the judgment of this Court and shall be enforced in

  accordance with the authorities provided in the Enforcement Terms. attached hereto as Exhibit E.

            7.   The Parties agree that Joseph A. Smith, Jr. shall be the Monitor and shall have t~e

  authorities and perfom1 the duties described in the Enforcement Terms. attached hereto as
                                                                                                    I

                                                                                                    I
  Exhibit E.

            8.   Within fifteen (15) days of the Effective Date of this Consent Judgment, the

  participating state and federal agencies shall designate an Administration and Monitoring

  Committee (the "Monitoring Committee") as described in the Enforcement Terms. The
                                                  4
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  Monitoring Committee shall serve as the representative of the participating state and federal

  agencies in the administration of all aspects of this and all similar Consent Judgments and the

  monitoring of compliance with it by the Defendant.

                                         V.      RELEASES

            9.    The United States and Defendant have agreed, in consideration for the terms

  provided herein, for the release of certain claims. and remedies, as provided in the Federal

  Release, attached hereto as Exhibit F. The United States and Defendant have also agreed that

  certain claims, and remedies are not released, as provided in Paragraph 11 of Exhibit F. The

  releases contained in Exhibit F shall become effective upon payment of the Direct Payment

  Settlement Amount by Defendant.

            10.   The State Parties and Defendant have agreed, in consideration for the terms

  provided herein, for the release of certain claims, and remedies, as provided in the State Release,

  attached hereto as Exhibit G. The State Parties and Defendant have also agreed that certain

  claims, and remedies are not released, as provided in Part IV of Exhibit G. The releases

  contained in Exhibit G shall become effective upon payment of the Direct Payment Settlement

  Amount by Defendant.

                        VI.    SERVICEMEMBERS CIVIL RELIEF ACT

            11.   The United States and Defendant have agreed to resolve certain claims arising

  under the Servicemembers Civil Relief Act ("SCRA") in accordance with the terms provided in

  Exhibit H. Any obligations undertaken pursuant to the terms provided in Exhibit H, including

  any obligation to provide monetary compensation to servicemcmbers. are in addition to the

  obligations undertaken pursuant to the other terms of this Consent Judgment. Only a payment to



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   an individual for a wrongful foreclosure pursuant to the terms of Exhibit H shall be reduced b

   the amount of any payment from the Borrower Payment Amount.

                                         VII.    OTHER TERMS

           12.     The United States and any State Party may withdraw from the Consent Judgme t

   and declare it null and void with respect to that party if the Defendant does not make the

   Consumer Relief Payments (as that term is defined in Exhibit F (Federal Release)) required
                                                                                                     1



   under this Consent Judgment and fails to cure such non-payment within thirty days of written

   notice by the party.

           13.     This Court retains jurisdiction for the duration of this Consent Judgment to

   enforce its terms. The parties may jointly seek to modify the terms of this Consent Judgment.

   subject to the approval of this Court. This Consent Judgment may be modified only by order of

   this Court.

           14.    The Effective Date of this Consent Judgment shall be the date on which the

   Consent Judgment has been entered by the Court and has become final and non-appealable. An

   order entering the Consent Judgment shall be deemed final and non-appealable for this purpose if

   there is no party with a right to appeal the order on the day it is entered.

           15.    This Consent Judgment shall remain in full force and effect for three and one-half

   years from the date it is entered ("the Term"), at which time the Defendants' obligations under

   the Consent Judgment shall expire, except that, pursuant to Exhibit E. Defendants shall submitj a

   final Quarterly Report for the last quarter or portion thereof falling within the Term and

   cooperate with the Monitor's review of said report, which shall be concluded no later than six

   months after the end of the Term. Defendant shall have no further obligations under this

   Consent Judgment six months after the expiration of the Term, but the Court shall retain
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   jurisdiction for purposes of enforcing or remedying any outstanding violations that are identified

   in the final Monitor Report and that have occurred but not been cured during the Term.

            16.    Except as otherwise agreed in Exhibit B, each party to this litigation will bear its

   own costs and attorneys' fees associated with this litigation.

            17.    Nothing in this Consent Judgment shall relieve Defendant of its obligation to

   comply with applicable state and federal law.

            18.    The sum and substance ofthe parties' agreement and of this Consent Judgment

   are reflected herein and in the Exhibits attached hereto. In the event of a conflict between the

   terms of the Exhibits and paragraphs 1-18 ofthis summary document, the terms of the Exhibits

   shall govern.


   SO ORDERED this      .J_ day of_,,$-++-/.-'-~.....
                                                  l:e...........,_;_ _ _ _ .   2012



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                                     UNITED STA ES DISTRICT JUDGE




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                         EXHIBIT 2
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  cffr
  July 7. 2015


  DONALD HAGER
  57 WASHINGTON AVE
  LEONARDO. NJ 07737·1223


  RE: Property Address:    57 WASHINGTON AVENUE
                           LEONARDO. NJ 07737-1223
  C1t1Mortgage Loan #:     2005366075



  Dear CitiMortgage Customer(s),

  T~1ank you for contacting us about your mortgage. Based on a careful review of the information you
  provided, we are offering you an opportunity to enter into a Trial Period Plan for a mortgage modification.
  Th1s rs the first step toward qualifying for more affordable mortgage payments or more manageable terms.
  It ;s important that you read this information rn 1ts entirety so that you completely understand the actions
  you need to take to successfully complete the Trial Period Plan to permanently modify your mortgage.

  Proposed Modification Terms
  If you successfully complete the Trial Period Plan by making the required payments. you will receive a
  modification with an interest rate of 6.500 %. which will be fixed for 20. 30 or 40 years from the date the
  modification is effective.

  To Suspend Foreclosure
  You must contact us at the number below or in writing at the address provided below no later than J!uly
  21. 2015. to indicate your intent to accept this offer, or alternatively, submit your first payment by that
  same date to accept th1s offer. If you contact us or make payment by July 21 I 20151 we will not relet your
  loan to foreclosure; or 1f your loan has been referred to foreclosure we will not move for foreclosure
  judgment or order of sale. or conduct a foreclosure sale.

  H.Y.vever. if you do not respond by July 21 2015, foreclosure proceedings may continue. and a
                                              I


  foreclosure sale may occur. even if such sale is scheduled prior to the first payment due date set for:th
  below. If a foreclosure sale occurs prior to your making the first payment and you failed to respond by
  July 21. 2015 . th1s offer has been revoked.

  To Accept This Offer
  If you have not1fied us of your intent to accept the offer by July 21, 2015, you must make your first Trial
  Period Plan payment by 811/2015. If you fail to make the first Trial Period Plan payment by 8/1/2015 and
  we do not receive the payment by the last day of the month m which it is due. this offer has been re\Yoked
  ancl foreclosure proceedings may continue and a foreclosure sale may occur.

  Make Trial Period Payments
  To successfully complete the Trial Period Plan. you must make the Trial Period Plan payments from one
  of tt1e plans listed below.
                                                                         I II   II
  I   II
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  r--·
                                   480 Month Term              360 Month Term              240 Month Term
      First payment due by         $2.746.43                   SNA                         SNA
      8:1/2015
  1--::
      Second payment due           $2.746.43                   SNA                         SNA
      by9/1/2015
  G't1ird payment due by           $2.746.43                   SNA                         SNA
      10/112015

  0~1ce you have selected one of the options above. you will not be able to request a change in the
  amortization term after the first Trial Period Plan payment is made.

  Please s end your Tri a I Period Plan p a yment s to

  C1t1Mortgage. Inc.
  PO Box 689196
  OE:•s Moines. lA 50368-9196

  If )IOU have questions about your Tnal Period Plan or permanent modification requirements. please
  C8ntact us at the number below.

  Next Steps
     • It is important that you thoroughly rev1ew the Additional Tnal Period Plan Information and L(lgal
         Notices and Frequently Asked Ooestions information attached.

           •   Thts Tnal Period Plan offer is contmgent on your havmg provided accurate and complete
               informat1on. We reserve the right to revoke th1s offer or termtnate the plan following your
               acceptar~ce if we learn of information that would make you :neligible for the Trial Penod Plar!l.


           •   Once you have successfully made each of the payments above by their due dates. you have
               submitted two s1gned copies of your Modificatton Agreement. and we have signed the
               Modification Agreement. your mortgage will be permanently modified in accordance with the
               terms of your modification agreement.

           •   You also have the abtlity to prepay the mortgage loan w:tl1out restrictions or penalties.

           •   If you become delinquent after the mortgage has been modrfied. you may not be eligrble tor
               another mortgage loan modification.

           •   We must receive each payment in the month in which it is due. If you miss a paymentt,or
               do not fulfill any other terms of your Trial Period Plan. this offer will end and your
               mortgage loan will not be modified.

               [For modifications involving state Housing Finance Agtmcy administration of federal
               HtJrdest Hit Funds. add the following bullet:
           •   If you are eligible and qualify for assistance from your state Hous,ng Finance Agency (HFA) using
               federal Hardest Hit Funds to pay down a portion of the unpaid principal balance of your mor1gage
               loan (HFA Funds). we must receive such HFA Funds from the HFA prior to modifying your
               mortgage. If we do not rece1ve such HFA funds. you may not be eligible for a modification.
               However. 1f you qualify for a modification without the HF A funds. we may offer you a modification
               of your mortgage.]

           •   If you have questions about this 1nformation. your Trial Period Plan payments. or our mortgage
               modification requ1rements. please contact us at the number below.
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                                                                                                           i

            •   If you feel that you cannot afford the Trial Period Plan payments shown above but want to lmain
                in your home. or if you have decided to leave your home. please contact us at the number elow
                to discuss hardship assistance alternatives.

            •   Please note that except for your monthly mortgage payment amount during the Trial Period Plan,
                the terms of your existing note and all mortgage requirements rema1n m effect and unchang~d
                during the Trial Period Plan.

  A statement of the interest of the creditor: Program requirements satisfied and approval is in the be*
  interest of the creditor.                                                                            '
                                                                                                           '
                                                                                                           '

  Tl1e Net Present Value analysis was not performed as it was not required for approval under the       Fr~ddie
  Mac Modification program.                                                                                '

  If you have any questions regarding this letter or if you concerned with how we have handled your
  account, please contact Randal Howland at 1-855-843-2549 ext. . Monday- Thursday 7:00a.m. - 8 00
  p.m. CT. Fnday 7:00a.m. -5:30p.m. CT. Saturday 7:00a.m.- 4:00p.m. CT. or via email at:
  randal.douglas.howland@citi.com. You may also contact me via mail at: CitiMortgage, Inc ..
  Homeowner Support Team. 1000 Technology Drive. Mail Station 420. O'Fallon. MO 63368.

  For help exploring your options at no charge. the Federal government provides contact information r
  HUD approved housing counselors. wh1ch you can access by contacting the Consumer Financial
  Protection Bureau at http://www.consumerfinance.gov/mortgagehelp/, the Department of Housing a d
  Urban Development at http://www.hud.gov/offices/hsg/sfh/hcc/hcs.cfm or by calling the HUD Housi g
  Counselor List Telephone Number at 1-888-995-4673.

  In accordance with federal law. CitiMortgage has designated the followmg address where you cans nd a
  written request for information. a wntten notice of error. or a qualified written request:

  C1t:Mortgage. Inc.
  Attn: Customer Research Team
  PO Box 10002
  Hagerstown. MD 21747-0002


  Sincerely,

  Crt!Mortgage. Inc.


  Enclosures: Aclcfitlvnallnformal!on. Frequently AskeL1 Questions Trial Plan Coupons



                                                      NOTICES

  TTY Serv1ces available: Dial 71 1 from the United States: Dial 1-866-280-2050 from Puerto Rico.

  C;\LLS ARE RANDOMLY MONITORED AND RECORDED TO ENSURE QUALITY SERVICE.

  Hours at operation provided reflect general hours for CitiMortgage.

  If ~c:sponding through e-mail. please do not rnclude confidentialrnformat1on. E-Mail communication is
  rar domly monitored to ensure quality service.

  If :m attorney represents you. please refer th1s letter to your attorney and prov1de us w1th the attorne,y's
   I   II                                                           I ,1   II

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  nd'll€,   address and telephone number.

  T:H: purpose of this communicatton is an attempt to collect a debt and any 1nformation obtained will be
  used for tt1at purpose.

  TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED OR IS SUBJECT TO AN
  AUTOMATIC STAY OF A BANKRUPTCY ORDER UNDER TITLE 11 OF THE UNITED STATES CODE.
  THIS NOTICE IS FOR COMPLIANCE AND INFORMATIONAL PURPOSES ONLY AND DOES NOT
  CONSTITUTE A DEMAND FOR PAYMENT OR AN ATTEMPT TO COLLECT ANY SUCH
  OBLIGATION.

  Whenever 5600.00 or more of a debt is forgiven as a result of settling a debt for less than the balan¢e
  ow1ng. we may be required to report the amount of the debt forgiven to the Internal Revenue Service on a
  1099-C form. a copy of which will be mailed to you. If you have any questions. please consult your tax
  advisor.

  Information for Massachusetts Residents:

                            NOTICE OF IMPORT ANT RIGHTS
  YOU HAVE THE RIGHT TO MAKE A WRITTEN OR ORAL REQUEST THAT TELEPHONE
  CALLS REGARDING YOUR DEBT NOT BE MADE TO YOU AT YOUR PLACE OF
  EMPLOYMENT. ANY SUCH ORAL REQUEST WILL BE VALID FOR ONLY TEN DAYS
  UNLESS YOU PROVIDE WRITTEN CONFIRMATION OF THE REQUEST POSTMARKED OR
  DELIVERED WITHIN SEVEN DAYS OF SUCH REQUEST. YOU MAY TERMINATE THIS
  REQUEST BY WRITING TO THE CREDITOR.
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  If you elect to appeal. we will provide you a written notice of our appeal decision within 30 calendar days
  of receiving your appeal. Our appeal decision is final. and not subtect to further appeal.

  If you elect to appeal, you do not have to accept this Standard Modification Trial Period Plan until
  resolution of the appeal. If we determine on appeal that you are eligible for a different loan modifica ion
  Tnal Penod Plan. we will send you an offer for that Trial Period Plan. In that case. you will have 14
  calendar days from the date of the appeal decision to indicate your intent to accept either the curre t
  Standard Modification Trial Period Plan offer (which may be revised to reflect new Trial Period Plan
  payment due dates if you have not already accepted it) or the new Trial Period Plan offer.

  If you wait to make the payment amount described above until after receiving our appeal decision. our
  loan will become more delinquent. Any unpaid interest. and other unpaid amounts. such as escrow for
  taxes and insurance, w11l continue to accrue on your mortgage loan during the appeal. and will be a ded
  to the balance of your loan if permitted by applicable law.
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                              Additional Trial Period Plan Information and Legal Notices

  We will not proceed to foreclosure sale during the Trial Period Plan, provided you are complying
  with the terms of the Trial Period Plan:

             •   Any pending foreclosure action or proceeding that has been suspended may be resumed if you
                 fail to comply with the terms of the plan or no longer qualify for a permanent loan modification.

             •   You agree that we will hold the Trial Period Plan payments in an account until sufficient funds are
                 in the account to pay your oldest delinquent monthly payment. You also agree that we will not pay
                 you interest on the amounts held in the account. If any money is left in this account at the end of
                 the Trial Period Plan and you qualify for a permanent loan modification. those funds will be
                 deducted from amounts that would otherwise be added to your modified principal balance.

             •   Our acceptance and posting of your payment during the Trial Period Plan <will not be deemed a
                 waiver of the acceleration of your loan and related activities. including the right to resume or
                 continue foreclosure. and> shall not constitute a cure of your mortgage default unless such
                 payments are sufficient to completely cure the default.

  If your monthly payment did not include escrows for taxes and insurance, you are now required to
  do so:
       • You agree that any prior waiver that allowed you to pay directly for taxes and insurance 1s
          revoked. You agree that we will establish an escrow account and that you will pay required
          escrows into that account.

  Your current loan documents remain in effect; however, you may make the Trial Period Plan
  payment instead of the payment required under your loan documents:

  You agree that all terms and provisions of your current mortgage note and mortgage security instrument
  remain in full force and effect and you will comply with those terms: and that nothing in the Trial Period
  Plan shall be understood or construed to be a satisfaction or release in whole or in part of the obligations
  contained in the loan documents.

  [f.:ortgagc Servicing Regulatory Notice c.md Right of Appeal" If review is based on an ev.1h1~tion
  of the First Complete Borrower Response Package received on or after January 10, 2014 and
  concerns property serving as the borrower's principal residence. add the following:

  Modification Program Review

  You were evaluated for mortgage payment assistance based on the eligibility requirements of Fred!liie
  Mac, the owner of your mortgage loan. Borrowers must meet Freddie Mac's eligibility requirements to be
  eligible for a loan modification Trial Penod Plan.

  Based on our review of your financial circumstances. you are approved for a Freddie Mac Standard
  Modification Trial Period Plan. However. you are ineligible lor a HAMP Modification. [Specify the
  r::-ason(s) for ineligibility using the appropriate model ineligibility reason: and add. as applicflble.
   You were not evaluated based on other eligibility requirements."]

  Right to Appeal
  You have the right to appeal our determination not to offer you the loan modification Trial Period Pl.n(s)
  listed above. If you would like to appeal. you must contact us in writing at the address provided belqw. no
  later than July 21, 2015, and state that you are requesting an appeal of our decision. You must incjude in
  the appeal your name. property address. and mortgage loan number. You may also specify the reasons
  lor your appeal. and provide any supporting documentation. Your right to appeal expires July 21, 2b15.
  Any appeal requests or documentation received after July 21. 2015, may not be considered.
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                        EXHIBIT 3
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                                                                                                              EXHIBIT "C"
                       'I                                                                                           ·~                                                                    .
            Mo1 qaqe Account Information
                         1
                                                                                                                    I                                                        Cltl
                         I                                                                                          "

                                                                                                                                          Statement ~ate: 09/17/15
             Account Number:                                        2005366075·7                                                                     Hbw to reach us
             Payment Due Date:                                            10/0l/15                                                            www .c ldmortgage.com
                                                                                                                             Homeowner Assistance: H~77-435-3314*
             Amount Due:t                                                $2,746.43                    Please reference your account number 200536$075 when calling.
                                                                                                           •calls .tnt r.tndomly monitored and recorded to ensure quality service.

                                  Your dedicated Single Point of Contact Is RANDAL D HOWLAND 855·843·2549, Ext 0475081.*                                              +
            Explan<~tion         of Amount Due                                                       Account Information
            Principal                                                          $283.37               DONALD HAGER
            Interest                                                           $949.16               Property Address: 57 WASHINGTON AVENUE
            Escrow                                                           $5,035.95                                 LEONARDO, NJ 07737
                Regular Monthly Payment                             ------$6.268.48 ...              Type of Mortgage                                          FIXEO RATE LOAN
            Past Due Amount                                                 $84,661.07               Outstanding Princtpal Balance                                   $191,311.80
                Contractual Total Amount Due'                               $90,929.55               Interest Rate                                                      6.50000%
                Trial Period Plan Amount Due'                                $2,746.43               Escrow Balance                                                   -$46.311.10
                                                                                                     Unapplied Funds Balance                                            $1,172.68
                                                                                                     Cit1Mortgage Taxes Pa1d Year to Date                               $6,106.92
             Past Payments Breakdown
er
e                                                            Paid                Paid
...J
lrl                                                       Last Month          Year to Date
c           Principal                                          $389.35               $774.51
~
            Interest                                         $2,075.71              $4,155.61
            Unaoplied Funsis                                   §281.37               S281.37
            Total                                            $2,746.43              $5,211.49



            Transaction Activity (08/19/15 to 09/17/15)
            Date                  Description                                                                                                       Charges               Payments
            08/20/15              Tax Lien AssessmenUTax Penalty                                                                                                             -$566.18
            08/20/15              Tax Lien AssessmenUTax Penalty                                                                                                                -$97.44

        1
         The Contractual Payment due IS the amount of your regularly scheduled monthly mortgage payments. You are and will continue to be legally dbligated to make the full
        amount or the Contractual Payment. but CitiMortgage has a!,'"eed to accept a partial mortgage payment called the Trial Period Plan Payment (IIPP Payment) during the
        term of the Tnal Period Plan. The TPP Paymer.i is not applied to your account but is held in a separate unapplied account until CitiMortgage h~s received enough funds
        to satisfy a Contractual Payment. The difference between the Contractual Payments and the TPP Payments Will be delinquent and continue to laccrue until the mortgage
        is brought current.                                              Important messages continued on the next page                                             .
                              To ensure timely processing, please enclose your check and the coupon below in the envelope proviclled.
------------------------- A~o~~ Nt7mtir:- 2oo536sois~---- -- r~tit i~o""u~to~e-by 1o/o111s~---- $2,746.4
       cffi~                                                                                                                                         $
                                                                  Do not include cash or account inquiries with
       P.O. Box 6243
                                                                  your payment
       Sioux Falls, SC       57~'7·6243
                                                                  Please see reverse side for mailing address and                                    $
                                                                  phone number changes.
        Mortgage Statement                                                                                                                           $
             Enclosed
                                                                                                                                                     $
                                                                                                                                   Total Amount
                                                                                                                                   Enclosed          $                               •
              000740501             26404029 OTF 00014050
                                                                                                                    Include account number on check. Make payable to CitiMortgage,
              '''l'l'llllt,r,,,,," I'• 11ll111'ull It ·'I "lllllll•l•lllllr llul·                                        CJTIMORTGAGE. INC.
              DONALD HAGER
                                                                                                                         PO BOX 183040
              57 WASHINGTON AVE
                                                                                                                         COLUMBUS OH 43218·3040
              LEONARDO NJ 07737·1223
                                                                                                                         'I' ltl; l·t"''''''''''''""'lll'··l•lt't'"'"''"'''''''''ll·ll


                                          17500 0274643 0274643 0274643 00000020053660757 0005
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            Mort aqe Account Information
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          Transaction Activity (08/19/15 to 09/17 /15)
          Date                       Description                                                                                                                                                                       Charges                      Payments
          08!20115                   Tax Lien AssessmenVTax Penalty                                                                                                                                                                                          -$7500
          08120/15                   Tax Lien AssessmenVTax Penalty                                                                                                                                                                                           -$388
          09103/15                   Funds ReceiVed· Thank you                                                                                                                                                                                            $2.746 43
          09/17/15                   Tax Lien AssessmenVTax Penalty                                                                                                                                                                                          -$20 co
          lmportan t Messaqes
          Ar.y rr::ssec .. · :; ?e:':J Pa'l    (T~P} ~ay~e1~s       are   r~rese1!e-j   :r.   ~t:e   PJst ::Je .:..,.....: ;rt .. roe~   E;.c·a~at   ::r- ::/ .:. ···:'..;'"~~    C:: .. -?   3... d . . ~t --:   ~re A-:c.,~   D.Je fer ,.,lS rpcrt'l :f vou r1a'ole
          m·ssed a ~p::· :::r1rent         ~~ease "l::t~.Je t~e ~:sse.j pa·,.mer! VY1:h t'l.s m~:"'~,.~t'l ::>a,.me~-~ ~r c,:~t=:~ ~ ··'.':~~;~~.::               ·:    ·:·~:~   . :: ::~:·:"'~ aJ        :c~::"'s    =e3se ....:~B t~at t~e f~·J~,·e ~·~~·"':"'e.,. ,.,a~e a
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           Mort~aqe               Account Information                                                                                                         Cltf
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                                                                                                                            Stat•m•nt o•t•: 06/17/15
             Account Number:                                   2005366075·7                                                           Hqw to reach us
             Payment Due Date:t                                         N/A                                                    www .c itirportgaqe.com
                                                                                                               Homeowner Assistance: 1-877-435-3314*
             Amount Due:t                                      $308,176.84                     Please reference your account number 2005366b75 when calling.
                                                                                                   •calls are randomly monitored end recorded to en$ure quelity service.

                               Your dedicated Single Point of Contact is RANDAL D HOWLAND 855-843-2549, Ext 0475081.•
                               The CitiMortgage Foreclosure Attorney is PHELAN HALLINAN & DIAMOND PC, 856-813-5500.
           Explanation of Amount Due                                                          Account Information
           Principal                                                  $192.086 31             DONALD HAGER
           Interest                                                    572.339.75             Property Address: 57 WASHINGTON AVENUE
           Escrow                                                      543,511.69                               LEONARDO, NJ 07737
           Past Due Fees/late Charges                                     $849 03             Type of r.1ortgage                                FIXED RATE LOAN
           Uoaoolied Fynds Allocation                                    ·S60994              Outstandmg Principal Balance                            $192,086.31
               Total Amount Duet                                      $308.176.84             Interest Rate                                              6.50000%
                                                                                              Escrow Balance                                           ·543,511.69
                                                                                              Partial Payment Unapplied Balance                            $609.94
            Past Payments Breakdown
                                                                                              CittMortgage Taxes Paid Year to Date                       54.070 01
                                                         Paid               Paid
er                                                    Last Month         Year to Date
e
           Pnncipal                                          $0.00              so 00
""
Ln
c          Interest                                          SO.OO              $0.00
I:-'       Total                                             SO.OO              $0.00



           Transaction Activity (05/19/15 to 06/17/15)
           Date                Description                                                                                           Charges              Payments
            NO TRAnSACTIONS HAVE OCCURRED SINCE YOUR LAST STATEMENT

         Important Messages




         "Partial Payments: Any partial payment that you make. other than a full reinstatement or payment of the total amount due. will not be applie<f to your mortgage but
         instead will be returned to you. as your loan has been accelerated and the accelerated amount is now due. If you are on an approved homeowrjer assistance plan.
         partial payments may be held in a separate un&pplied account and credited according to the terms of the plan.                                I


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--------------------------------------------------------------~----------
                                                              tTHIS AMOUNT DUE IS FOR INFORMATIONAL PURPOSES O~LY AND DOES N<
                                                              REFLECT FEES AND COSTS NOT BILLED OR POSTED TO YOUR ACCOUNT AS'
                                                              THE STATEMENT DATE. YOUR LOAN HAS BEEN ACCELERAT~D UNDER STATI
       P.O. Sox 62/.3                                         LAW AND THE ACCELERATED AMOUNT SHOWN IS NOW DUE~ CITIMORTGAGE,
       Siot;x Falls, s:.' 57117·62/.3
                                                              HOWEVER, ALLOWS REINSTATEMENTS OF' LOANS ACCELERIATED PRIOR TO
        Mortgage Statement                                    FORECLOSURE SALE. YOU MUST CONTACT THE CITIMORTGAGE ATTORNEY
             Enclosed                                         IDENTIFIED ON PAGE 1 FOR YOUR CURRENT REINST ATMEM~NT AMOUNT OR
                                                              PAYOFF' AMOUNT. IF' YOU ARE REPRESENTED BY AN ATTORNEY, PROVIDE J.
                                                              COPY OF' THIS STATEMENT TO YOUR ATTORNEY.

             00001278,            26501942 DTF 00001278

             •l'tlll•ll'tl• IIIII hlllllltlh II Ill· II h"''"'' '1''"''1··'"
                                                 II
             DONALD HAGER
             57 WASHINGTON AVE
             LEONARDO NJ 07i37·1223
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        Del~tnquency Notice                                                                                            Cl t I
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         As of 02/01/10, you are late on your mortgage payments. Failure to bring your loan current may result ih
         fees and/or additional actions concerning your home.
         Recent Account History
           • Payment due 04/01/15: Unpaid Regular Monthly Payment amount of $77,649.39.
           • Payment due 05/01/15: Unpaid Regular Monthly Payment amount of $78,881.92.
           • Payment due 06/01/15: Unpaid Regular Monthly Payment amount of $80,114.45.
           • Payment due 07/01/15: Unpaid Regular Monthly Payment amount of $81,346.98.
           • Payment due 08/01/15: Unpaid Regular Monthly Payment amount of $82,579.51.
           • Payment due 09/01/15: Unpaid Regular Monthly Payment amount of $83,812.04.
           • Total Unpaid Regular Monthly Payment amount as of this statement: $90,080.52.
             This amount does not include any late charges and fees represented in the "Explanation of Amount pue"
             section on page 1 of your statement or any fees that have not been billed or posted to your account .as
                                                                                                                   1




             of the statement date. Please contact CitiMortgage at 1·800·283-7918 to obtain the exact amount ·
             needed to cure the default on your account and/or the exact amount needed to bring your account up to
             date.
         Our records indicate that you have agreed to participate in a Freddie Mac Streamline Modification.

         If You Are Experiencing Financial Difficulty: HUD·approved housing counseling agencies are available to
a-
0        provide you with information about mortgage and foreclosure counseling and assistance. Call
-..J     1-800·569-4287 to speak with an expert about your individual situatron or visit HUD at
1.1'1
0        www .hud.qovI offi ces/hsq/ sfh/hcc/hcs.cfm
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                        EXHIBIT 4
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   ern~
  APN#: 00365.0000 00006.0001
  Servicer Loan #: 2005366075

  After Recording Return To:
  CitiMortgage, Inc.
  1000 Technology Drive, MS 420R
  O'Fallon, MO 63368-2240
  Doc Prep/Booking & Closing

  This document was prepared by: DANIELLE MCDONALD
  On behalf of:
  CitiMortgage, Inc.
  1000 Technology Drive
  O'Fallon, MO 63368
      ---------_[Space Above This line For Recording Data} __________ _

  Original Principal Amount: S 195.000.00
  Unpaid Principal Amount: S 190,719.83
  New Principal Amount:$ 307,931.05
  New Money (Cap): S 112,931.05

                            Borrower's Copy: Retain for your Records
                                    LOAN MODIFICATION AGREEMENT
                                     (Providing for Fixed Interest Rate)

  n'.is Loan Modification Agreement ("Modification Agreement"), made this this 16th day of October 2015,
  between DONALD HAGER .. (''Borrower") and ("Lender") CitiMortgage. Inc., amends and supplements
  { 1) the Mortgage, Deed of Trust. or Security Deed (the "Security Instrument"), and Timely Pclyment
  Rewards Rider, if any, dated 5/6/2008 and recorded in Book or Liber OR-8722. at page(s) 1149. or
  Document # 2008055047 of the MONMOUTH County Records of MONMOUTH County, New Jers$y and
  (2) the Note ("Note"), bearing the same date as. and secured by, the Security Instrument. which ¢overs
  the real and personal property described in the Security Instrument and defined therein as the "Property",
  located at 57 WASHINGTON AVENUE. LEONARDO. NJ 07737·1223,                    the real property described
  being set forth as follows:

  (If recording enter: See attached legal description)

  In consideration of the mutual promises and agreements exchanged. the parties hereto agree as follows
  (notwithstanding anything to the contrary contained in the Note or Security Instrument):

  1. Modified Principal Balance. As of 10/01/15. the amount payable under the Note and the Security
  Instrument (the "New Principal Balance") is U.S. S 307,931.05 consisting of the unpaid amount(s) loaned
  to Borrower by Lender plus any interest and other amounts capitalized

  2. Modified Terms. S 0.00 of the Unpaid Principal Balance shall be deferred and Borrower will no~ pay
  interest or make monthly payments on this amount. The Unpaid Principal Balance less the Deferred
  Principal Balance (defined in paragraph 3) shall be referred to as the "Interest Bearing Principal Bal~nce"
  and this amount is S 307,931.05. Interest at the rate of 6.50000%•. will begin to accrue on the ''lnt$rest
  Bearing Principal Balance" as of 10/01/15 and the first new monthly payment on the Interest Bearing
  Principal Balance will be due on 11/01115. Borrower promises to make monthly payments of prin~ipal
  and interest of U.S. $ 1.802.80, begil"lning on the 1st day of November 2015. and continuing thereafter on
  the same day of each succeeding month until the Interest Bearing Principal Balance and all accrued
  interest thereon have been paid in full. The new Maturity Date will be 10/01/55.
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'The escrow payments may be adjusted periodically in accordance with applicable law and th
borrower's total monthly payment may change accordingly.

3. Deferred Principal Balance. If any portion of the New Principal Balance was deferred (the .. 0
Principal Balance''), Borrower agrees to pay in full the Deferred Principal Balance and any other a aunts
still owed under the Note and Security Instrument by the earliest of: (i) the date Borrower sells or tra
an interest in the Property. (ii) the date Borrower pays the entire Interest Bearing Principal Balance.
the new Maturity Date.

4. Partial Prepayments. If Borrower makes a partial prepayment of Principal, Lender may appl that
partial prepayment first to any Deferred Principal Balance before applying suct1 partial prepaym nt to
other amounts due.

5. Due on Sale. If all or any part of the Property or any interest in the Property is sold or transferred (or if
Borrower is not a natural person and a beneficial interest in Borrower is sold or transferred) wi hout
Lender's prior written consent, Lender may require immediate payment in full of all sums secured b the
Security Instrument.

If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall pr vide
a period of not less than 30 days from the date the notice is delivered or mailed within which Borr wer
must pay all sums secured by the Security Instrument. If Borrower fails to pay these sums prior t the
exp1ration of this period. Lender may invoke any remedies permitted by the Securi1y Instrument wit
further notice or demand on Borrower.

6. Original Loan Documents Compliance. Borrower also will comply with all other coven nts.
agreements. and requ1rements of the Security Instrument, including without limitation. Borre er's
covenants and agreements to make all payments of taxes. insurance premiums. assessments, es row
items, impounds. and all other payments that Borrower is obligated to make under the Sec rity
Instrument: however. the following terms and provisions are forever canceled, null and void, as of the
date specified in paragraph No. 1 above:                                                                        1.




        a. all terms and provisions of the Note and Security Instrument (if any) providing for. implementing\. or
        relating to, any change or adjustment in the rate of interest payable under the Note, including, wh~re
        applicable, the Timely Payment Rewards rate reduction, as described in paragraph 1 of the TiiT1ely
        Payment Rewards Addendum to Note and paragraph A.1. of the Timely Payment Rewards Rider. By
        executing this Modification Agreement. Borrower waives any Timely Payment Rewards rate reduction
        to which Borrower may have otherwise been entitled; and

        b all terms and provisions of any adjustable rate rider. or Timely Payment Rewards Rider. wh,re
        applicable. or other instrument or document that is affixed to. wholly or partially incorporated into. o~ is
        part of. the Note or Security Instrument and that contains any such terms and provisions as th9se
        referred to in (a) above.                                                                                i



7. Rights and Remedies; Enforcing Modification Agreement. Borrower understands and agrees tha~:

        a. All the rights and remedies. stipulations. and conditions contained in the Security Instrument
        relating to default in the making of payments under the Security Instrument shall also apply to default
        in !f1e making of the modified payments hereunder.

        b. All covenants. agreements. stipulations. and conditions in the Note and Security Instrument shall
        be and remain in full force and effect, except as herein modified, and none of the Borrowe~·s
        obligations or liabilities under the Note and Security Instrument shall be diminished or released by
        any provisions hereof, nor shall this Modification Agreement in any way 1mpair. diminish. or affect any
        ot Lender's rights under or remedies on the Note and Security Instrument. whether such rights or
        remedies arise there under or by operation of law. Also. all rights of recourse to which Lender is
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      presently entitled against any property or any other persons in any way obligated for. or liabl
      Note and Security Instrument are expressly reserved by Lender.

      c. Nothing in this Modification Agreement shall be understood or construed to be a satisf
      release in whole or in part of the Note and Security Instrument.

      d. All costs and expenses incurred by Lender in connection with this Modification Ag ement.
      including recording fees, title examination, and attorney's fees, shall be paid by the Borro ~er and
      shall be secured by the Security Instrument, unless stipulated otherwise by Lender.

      e. Borrower agrees to make and execute such other documents or papers as may be nece sary or
      required to effectuate the terms and conditions of this Modification Agreement which. if appro ed and
      accepted by Lender, shall bind and inure to the heirs. executors. administrators. and assig     of the
      Borrower.

      f. If the Borrower does not occupy the property as a principal residence, and propert is an
      investment property. Borrower hereby absolutely and unconditionally assigns and transfers to Lender
      all leases of the Property and all security deposits made in connection with leases of the Property.
      Upon this assignment, Lender shall have the right to modify, extend or terminate the existin leases
      and to execute new leases. in Lender's sole discretion. As used in this paragraph. the word ''lease"
      shall mean "sublease" if the Security Instrument is on a leasehold estate.

      Also, Borrower hereby absolutely and unconditionally assigns and transfers to Lender all t e rents
      and revenues ("Rents") of the Property, regardless of to whom the Rents of the Property are yable.
      Borrower authorizes lender or Lender's agents to collect the Rents, and agrees that each t nant of
      the Property shall pay the Rents to Lender or Lender's agents. However. Borrower shall rec ive the
      Rents until (i) Lender has given Borrower notice of default under this Modification Agr ement.
      pursuant to Section 22 of the Security Instrument, and (ii) Lender has given notice to the t nant(s)
      that the Rents are to be paid to Lender or Lender's agent. This assignment of Rents constit tes an
      absolute assignment and not an assignment for additional security only.                      '

      If Lender gives notice of default to Borrower: (i) all Rents received by Borrower shall be eld by
      Borrower as trustee for the benefit of Lender only, to be applied to the sums secured by the ecurity
      Instrument; (ii) Lender shall be entitled to collect and receive all of the Rents of the Prope y: (iii)
      Borrower agrees that each tenant of the Property shall pay all Rents due and unpaid to Le der or
      lender's agents upon Lender's written demand to the tenant; (iv) unless applicable law p ovides
      otherwise. all Rents collected by Lender or Lender's agents shall be applied first to the costs o taking
      control of and managing the Property and collecting the Rents, including, but not limited to. att rney's
      fees. receiver's fees. premiums on receiver's bonds, repa1r and maintenance costs. ins~rance
      premiums. taxes. assessments and other charges on the Property, and then to the sums sect.jred by
      the Security Instrument; (v) Lender, Lender's agents or any judicially appointed receiver s~all be
      liable to account for only those Rents actually received; and (vi) Lender shall be entitled to 11ave a
      receiver appointed to take possession of and manage the Property and collect the Rents and profits
      derived from the Property without any showing as to the inadequacy of the Property as security.

      If the Rents of the Property are not sufficient to cover the costs of taking control of and managi,g the
      Property and of collecting the Rents any funds expended by Lender for such purposes shall become
      indebtedness of Borrower to Lender secured by the Security Instrument pursuant to Section 9 of the
      Security Instrument.

      Borrower represents and warrants that Borrower has not executed any prior assignment of the Rents
      and has not performed. and will not perform. any act that would prevent Lender from exercising its
      rights under this paragraph.

      Lender. or Lender's agents or a judicially appointed receiver. shall not be required to enter upon. take
      control of or maintain the Property before or after giving notice of default to Borrower. However.
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         Lender. or Lender's agents or a judicially appointed receiver. may do so at any time when a default
         occurs. Any application of Rents shall not cure or waive any default or invalidate any other right or
         remedy of Lender. This assignment of Rents of the Property shall terminate when all th~ sums
         secured by the Security Instrument are paid in full.                                        !




  8. Escrow Items. Borrower will pay to Lender on the day payments are due under the Loan         Do~uments
  as amended by this Modification Agreement, until the Loan is paid in full. a sum (the "Funds") to provide
                                                                                                      1




   tor payment of amounts due for: (a) taxes and assessments and other items which can attain priotity over
  the Mortgage as a lien or encumbrance on the Property; (b) leasehold payments or ground rent~ on the
  Property, if any; (c) premiums for any and all insurance required by Lender under the Loan Doc~ments;
   (d) mortgage insurance premiums. if any, or any sums payable to Lender in lieu of the payrjnent of
  mortgage insurance premiums in accordance with the Loan Documents; and (e) any co~munity
  association dues. fees, and assessments that Lender requires to be escrowed. These items ar+ called
  "Escrow Items." Borrower shall promptly furnish to Lender all notices of amounts to be paid un~er this
  paragraph. Borrower shall pay Lender the Funds for Escrow Items unless Lender waives Bo rower's
  obligation to pay the Funds for any or all Escrow Items. Lender may waive Borrower's obligation t pay to
  Lender Funds for any or all Escrow Items at any time. Any such waiver may only be in writingf In the
  event of such waiver. Borrower shall pay directly, when and where payable, the amounts due ~or any
  Escrow Items for which payment of Funds has been waived by Lender and, if Lender require~. shall
  furnish to Lender receipts evidencing such payment within such time period as Lender may~equire.
  Borrower's obligation to make such payments and to provide receipts shall for all purposes be de med to
  be a covenant and agreement contained in the Loan Documents. as the phrase ··coven nt and
  agreement" is used in the Loan Documents. If Borrower is obligated to pay Escrow Items irectly.
  pursuant to a waiver, and Borrower fails to pay the amount due for an Escrow Item, Lender may e~ercise
  its rights under the Loan Documents and this Modification Agreement and pay such amount and B~rrower
  shall then be obligated to repay to Lender any such amount. Lender may revoke the waiver as toj any or
  all Escrow Items at any time by a notice given in accordance with the loan Documents. and, upqn such
  revocation, Borrower shall pay to Lender all Funds. and in such amounts, that are then requireq under
  th1s paragraph.                                                                                   I




  Lender may, at any time. collect and hold Funds in an amount (a) sufficient to permit Lender to a ply the
  Funds at the time specified under the Real Estate Settlement Procedures Act ("RESPA"), and (b not to
  exceed the maximum amount a lender can require under RESPA. Lender shall estimate the am unt of
  Funds due on the basis of current data and reasonable estimates of expenditures of future Escro~ Items
  or otherwise in accordance with applicable law.

  The Funds shall be held in an institution whose deposits are insured by a federal agency, instrum
  or entity (including Lender. if Lender is an institution whose deposits are so insured) or in any ederal
  Home Loan Bank. Lender shall apply the Funds to pay the Escrow Items no later than the time specified
  under RESPA. Lender shall not charge Borrower for holding and applying the Funds, annually analyzing
  the escrow account, or verifying the Escrow Items. unless Lender pays Borrower interest on the Funds
  and applicable law permits Lender to make such a charge. Unless an agreement is made in wriling or
  applicable law requires interest to be paid on the Funds. Lender shall not be required to pay BorrovJer any
  interest or earnings on the Funds. Lender and Borrower can agree in V.'riting, however. that intere$t shall
  be paid on the Funds. Lender shall provide Borrower. without charge. an annual accounting of the Funds
  as required by RESPA.

  If tl1ere is a surplus of Funds held in escrow. as defined under RESPA, Lender shall account to Borrower
  for the excess funds in accordance with RESPA. If there is a shortage of Funds held in escrow. as
  def1ned under RESPA, Lender shall notify Borrower as required by RESPA. and Borrower shall pay to
  Lender the amount necessary to make up the shortage in accordance with RESPA, but in no more than
  12 monthly payments. If there is a deficiency of Funds held in escrow. as defined under RESPA, Lender
  shall notify Borrower as required by RESPA. and Borrower shall pay to Lender the amount necessary to
  make up the deficiency in accordance with RESPA. but in no more than 12 monthly payments.

  Upon payment in full of all sums secured by the Loan Documents. Lender shall promptly refund to
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   Borrower any Funds held by Lender.

   9. Bankruptcy Provision. Notwithstanding the foregoing, to the extent personal liability has been
   discharged in bankruptcy with respect to any amount payable under the Note. as modified herein. nothing
   contained herein shall be construed to impose personal liability to repay any such obligation where any
   obligations have been so discharged. If any bankruptcy proceeding is pending or completed during a time
   period related to entering this Modification Agreement, I understand that I enter this Mocllification
   Agreement voluntarily and that this Modification Agreement. or actions taken by the Lender in relation to
   this Modification Agreement, does not constitute a demand for payment or an attempt to collect any such
   obligation

   10. Signature Requirements. Borrower(s) understand that the Lender's consent to this Modification
   Agreement is conditioned upon all Borrower(s) properly signing and returning this Modification Aglreement
   without any alterations or deletions and making all monthly payments when due. Any person signing
   below who signed the Security Instrument but who did not sign the Note is signing only to m~dify the
   Security Instrument and to consent to the modification of the Note and is not personally obligated to pay
   tt1e amounts owed under the Note or the sums Secured by the Security Instrument.

   11. Loan Assumption. That. as of the Modification Date, I understand that the Lender will only allow the
   transfer and assumption of the Loan. including this Modification Agreement, to a transferee of my
   property as permitted under the Garn St. Germain Act, ~ 2 U.S.C. Section 1701j-3. A buyer or tr~msferee
   of the Property will not be permitted, under any other circumstance. to assume the Loan. Except as noted
   herein, this Modification Agreement may not be assigned to, or assumed by. a buyer or transferee of the
   Property.
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                       EXHIBIT 5
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                                                                                                       9990 Richmond A venue
                                                                                                               Suite 400 South
                                                                                                           Houston, TX 77042


      SJ~LENE
                                                                                                     Telephone (877) 768-3759
                                                                                                           Fax (866) 926-5498
                                                                                                       www.selenefinance.com

                                                                                                       Hours of Operation (CT)
                                                                                               Monday- Thursday: 8 a.m. - 7 p.m.
2/19/2016                                                                                                Friday: 8 a.m. - 5 p.m.

DONALD HAGER
57 WASHINGTON AVE
LEONARDO, NJ 07737


Re:         Loan No:                737965
            Property:               57 WASHINGTON AVE, LEONARDO, NJ 07737

Dear Mortgagor(s):

Selene Finance LP ("Selene'') is pleased to offer you the enclosed Trial Modification Plan (''Agreement'') as the first steP to retain
your home. This is your opportunity to prove that you want to keep the property and can afford to do so. The Agreeme1t is based
on certain financial information you provided to us and 1 or any statements or representations that you made to us directly or
through your duly appointed representative or counsel and includes the terms we discussed with you.

Please read the Agreement carefully to ensure that you understand your obligations. You must comply with all of the t~erms to be
considered for a modification or other permanent assistance. Please pay on or before the due date outlined on the Agreement.
Also, you are required to make the down payment using a money order, bank certified check, or send a Money Gram payment
using code "6440".      If the signed Agreement and down payment are not received by the date the first installment is due, the
Agreement is void. Understand, by signing this Agreement it is your responsibility to maintain records evidencing delivery of any
and all payments, including the down payment. The addresses for remitting the payments are:

           Via Regular Mail                                    Via Ovemight Courier
           Selene Finance LP                                   Selene Finance LP
           P.O. Box 71243                                      ATTN: Cashiering Department
           Philadelphia, PA 19176-6243                         9990 Richmond Avenue, Suite 400 South
                                                               Houston, TX 77042-1639

Please return the signed and initialed Agreement to Selene no later than 3/4/2016. You may use the enclosed envelope !Or use one
of the other convenient methods listed on the last page. If you do not return the Agreement by 3/4/2016 or if you fail tb meet the
requirements of this Agreement, we will void the Agreement and pursue all remedies available to us under the Note and Security
Instrument. If you have any questions concerning this Agreement, you should contact your Single Point of Contact at (877) 768-
3759.

Joseph Burns(S)
Loan Resolution Department
Selene Finance LP




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                                                       Trial Modification Plan

Re:        Borrower(s):            DONALD HAGER
           Property:               57 WASHINGTON AVE, LEONARDO, NJ 07737
           Loan#:                  737965

Borrower executed a promissory note (the "Note") and Mortgage/Deed of Trust/Deed to Secure Debt (''Security Instrument") on
5/6/2008 in the amount of $195000.00 (the "Loan").

The Property secures the Loan.

Borrower is in default under the terms of the Note and Security Instrument

In consideration of the benefits which Borrower and the holder of the Note and Security Instrument (the "Lender'') may obtain by
entering into this Trial Modification Plan (the "Agreement'') and for other good and valuable consideration, Borrower and Selene
Finance LP (''Selene''), on behalf of the Lender, agree to the following:


DO:                                       l'avment                      Applied To

2/20/2016                                 $6,000.00                     Suspense
4/1/2016                                  $2,885.86                     Suspense
5/1/2016                                  $2,885.86                     Suspense
6/1/2016                                  $2,885.86                     Suspense




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TRIAL MODIFICATION PLAN

Borrower agrees to make payments in the amounts shown below on or before the date specified for each payment.
Payments will be applied as specified below.


YOUR OBUGATIONS UNDER THIS TRIAL MODIFICATION PLAN

PAYMENTS

The initial down payment under this Agreement must be made with certified funds. This can be done by sending a money order or
certified bank check to: Selene Finance, 9990 Richmond Avenue, Ste. 400 South, Houston, TX 77042, or send a Money Gram
payment using code "6440". The initial down payment must be received no later than 3:00p.m. central time on the above down
payment date. It is your responsibility to maintain records evidencing delivery of any and all payments, including the down
payment. Please include the loan number as reference for posting. In addition to the down payment, you must make tllle monthly
payments on or prior to the dates stated above in the Trial Modification Plan Section. Failure to make timely payments shall
constitute a default under this Agreement and the Agreement may be void, with Selene having no obligation to offer another Trial
Modification Plan.

This Agreement is NOT designed to cure the default and bring the Loan current. It is specifically de$igned to
implement a short term and temporary repayment plan period. During this repayment plan period, Borrower will
make the payments shown above, which will be applied in accordance with the schedule outlined above.

If Borrower makes each of the payments as set forth in this Agreement and, if applicable, provides Selene with the
financial information described below, Selene, on behalf of the Lender, will offer a permanent modification 10f the
Loan and may assist the Borrower in refinancing the Loan. Borrower authorizes Selene to share information about
the loan and Borrower's financial information with lenders who may offer Borrower a new loan.

IN THE EVENT THAT THE PERMANENT MODIFICATION HAS NOT BEEN RECEIVED OR EXECUTED BY THE BORROWER
UPON THE BORROWER'S SUCCESSFUL COMPLETION OF THE AGREEMENT, THE BORROWER MUST CONTINUE
MAKING MONTHLY PAYMENTS IN THE AMOUNT AS AGREED UPON IN THE AGREEMENT ON OR BEFORE THt
AGREED UPON MONTHLY DUE DATE, UNTIL SUCH DOCUMENTS ARE EXECUTED AND RECEIVED BY SELENE.
OTHERWISE, THE PERMANENT MODIFICATION MAY BE DENIED.


REQUIRED INFORMATION. CONDIDONS

Borrower agrees to give Selene's representative access to the property to perform an interior Broker Price Opinion
at least thirty (30) days prior to the final payment date shown above. If the Borrower does not allow ;tccess to
complete the inspection within that timeframe, this Agreement will be void, and Selene will have no obl~ation to
offer another Trial Modification Plan. Moreover, Selene and the Lender may exercise all its rights under the Note
and Security Instrument.

In the event the property is presently insured by Lender under a "lender placed insurance policy", then Borrower
shall obtain his/her/their own homeowner's insurance policy, naming Lender as an additional insured, pursuant to
the obligations under the Security Instrument.

If Borrower is approved for a modification, Selene will establish (if Borrower does not already have !One) and
maintain an escrow account for the payment of property taxes, homeowners insurance and, if applicable, flood
insurance. There will be no initial cost for establishing the account. Your signature below indicates your
acceptance of the establishment and maintenance of the escrow account by Selene.

FORECLOSURE NOT DISMISSED

This Agreement is not a permanent resolution of the default under the Note and Security Instrument. IN THE EVEN!f THAT A
FORECLOSURE IS PENDING, THE FORECLOSURE ACTION WILL NOT BE DISMISSED OR RESCINDED. However, while
your loan is under review for modification and so long as you remain current under the terms of this Agreement, the foreclosure will
be placed on hold for the term of the Agreement. If you default under the terms of the Agreement, the AgreemeJilt shall be
deemed void, and Selene may proceed with the pending foredosure without further notice to Borrower.




Forbearance to Refinance Plan                                                             Initials: _ _ __
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CHANGE IN FINANCIAL CONDmON

Borrower agrees that upon thirty (30) days written notice, Selene has the right to increase the monthly payment required under this
Agreement if Selene has verified that:

                •   There has been a material change in Borrower's financial condition; or
                •   There were significant inaccuracies in the financial information last submitted by Borrower, and that Borrower is
                    financially able to make increased payments.




ADJUSTABLE RATE NOTE

This Agreement does not alter the manner in which interest is calculated under the Note on an Adjustable Rate Mortg~ge Loan, or
the obligation to pay any interest that accrues during the Agreement term. While this Agreement is in effect, the Note will continue
to govern the rate at which interest accrues on the loan balance and how the loan balance is calculated. If interest accrues under
the Note at a rate that is subject to periodic adjustments due to changes in an index (an adjustable rate mortgage), this Agreement
does not limit or alter the manner in which that rate may change.

Therefore, if there is an increase in the Index Rate under the Note during the Agreement term, interest will accrue on the loan
balance at the increased rate. However, your payments under this Agreement will not change with any increase or decrease to the
Index Rate. While this Agreement is in effect, you may continue to make payments in the amounts detailed in this Agreement
without regard to how the Index Rate may adjust under the terms of your Note.

TERMINATION CONDITIONS

This Agreement is automatically terminated under any of the following circumstances:
     •   The Property is abandoned or left vacant for more than sixty (60) days.
     •   Borrower no longer uses the Property as a principal residence unless Borrower can evidence a temporary reiOCiation by the
         primary employer or, if the borrower is an active duty service member in the Armed Services of the United States or a
         state's National Guard, is assigned to a new post.
     •   Borrower transfers ownership or interest in the Property without consent of Selene.
     •   Selene received incorrect information in connection with the Borrower executing this Agreement.
     •   Borrower fails to meet any of the terms of this Agreement or the original Note and Security Instrument.
     •   Borrower files bankruptcy.




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CREDIT REPORTING

During the Agreement term, Lender will report the Loan to the appropriate reporting agencies. This report will contain the
contractual delinquency status with the comment "Paying under a Partial Payment Agreement''. If this Agreement is breached for
non-payment, Lender will resume reporting your Loan as delinquent.

ORIGINAL NOTE AND S£CURIY INSTRUMENT

All of the provisions of the Note and Security Instrument, except as provided in this Agreement, remain in full force and effect.
Nothing contained in this Agreement will be construed to impair the Security Instrument or effect or impair the Lender's rights or
powers under the Note and Security Instrument. This Agreement does not constitute a waiver of the Lender's right to insist upon
strict performance in the future.


The offer contained in this Agreement expires and is withdrawn unless this Agreement is executed by each Borrower and received
by Selene by the down payment date and the down payment is made in accordance with the terms of this Agreement.




Date:----------
                                              Borrower


                                             Co-Borrower

                           You may return the signed and initialed Agreement to one of the following:

                                                        Selene Finance
                                                       P.O. Box 422039
                                                    Houston, TX 77242-4239
                                                     Fax: (866) 926-5498
                                           Email: loanresolution@selenefinance.com


Re:       Customer(s):          DONALD HAGER
          Property Add:         57 WASHINGTON AVE, LEONARDO, NJ 07737
          Loan#:                737965




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                                                                                                         9990 Richmond A venue
                                                                                                                 Suite 400 South
                                                                                                             Houston, TX 77042


      S~ELENE
                                                                                                       Telephone (877) 768-3759
                                                                                                             Fax (866) 926-5498
                                                                                                         www.selenefinance.com

                                                                                                       Hours of Operation (CT)
                                                                                               Monday- Thursday: 8 a.m. - 7 p.m.
                                                                                                         Friday: 8 a.m. - 5 p.m.


DONALD HAGER
57 WASHINGTON AVE
LEONARDO, NJ 07737


Re:          Pre-Authorized Payments (ACH Debits)
             Loan No.:                737965
             Property Address:        57 WASHINGTON AVE, LEONARDO, NJ 07737

Dear Customer(s):

The attached Authorization Agreement for Preauthorized Payments ("ACH Debit Agreement''), when signed by you and returned to
Selene, will evidence your agreement to establish automatic monthly transfers from your bank account on the draft dates and draft
amounts shown on the attached Agreement.

PLEASE RETAIN A DUPUCATE COPY OF THE ACH DEBIT AGREEMENTFOR YOUR RECORDS AND RETURN ONE COPY TO SELENE
EITHER BY MAIL OR FAX TO:

                                                       Selene Finance LP
                                                    Attn: Customer Service
                                                        P.O. Box 422039
                                                    Houston, TX n242-4239
                                                     Fax: (866) 926-5496

If any information is not correct, please contact our Customer Service Department immediately at our toll-free number (877) 735-
3637.

Sincerely,

Customer Service
Selene Finance LP




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Loan No.: 737965
AUTHORIZATION AGREEMENT FOR PREAUTHORIZED PAYMENTS (ACH DEBITS)

The undersigned hereby authorize Selene Finance LP (Selene) to initiate debit entries to my (our) account indicated below, and the
financial institution named below (the "Bank"), to debit the same to such account. If funds are mistakenly taken from my (our)
account, I (we) authorize Selene to initiate a corrective (credit) entry, and the Bank to credit the same to such account.

DEBIT ENTRIES WILL BE MADE TO THE ACCOUNT ON THE DATES SHOWN BELOW, OR IF THE DATE IS A HOLIDAY, ON
THE NEXT BUSINESS DAY FOLLOWING THE DATE SHOWN.




Please deduct the amounts shown below on the relevant draft dates·
4/1/2016                         $2,885.86

5/1/2016                               $2,885.86
6/1/2016                               $2,885.86




The name, address, account number and routing number of my (our) bank is:
Bank Name                                                 Bank Routing (ABA #)*


Address                                                     Account#


City, State, Zip                                            Type of Account
                                                            o Checking      o Savings


How to identify routing/aha# and account number on checks or deposit slips (checking or savings):



                                    1: 12346678t 1: 12345$78912311·1234
                                                                            t.J
                               1


                               :·   t· I        u  t t~....··----r-l___,t
                                         Bank               Bank       Check Numb<H{Oo 1otuse)
                                    Routing Number      Account Numbtr


This authority is to remain in full force and effect until the earlier of (i) the last Draft Date entered in the table above or (ii} the date
Selene has received written notification from me (or either of us) of its termination in such time as to afford Selene a reasonable
opportunity to act on it, but in no event less than 20 business days prior to the applicable draft date. Until such request i$ received
by Selene, I (we) agree that Selene shall be fully protected in complying with the terms of this agreement. I (we) also agree that
should a draft under this agreement be returned to Selene for insufficient funds (NSF). I will make future payments by o~her means if
requested by Selene, and I may be charged an NSF processing fee if pennitted by applicable law.

Signature(s) as they appear on promissory note:



BORROWER                              Date                CO-BORROWER                                 Date




Forbearance to Refmance Plan                                                                          Initials: _ _ __
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                        EXHIBIT 6
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     February 23, 2016

     SELENE FINANCE
     9990 RICHMOND AVE SUITE 400 SOUTH
     HOUSTON, TX. 75019



            RE:         QUALIFIED WRITTEN REQUEST (RESPA)
                        REQUEST FOR VALIDATION OF DEBT (FDCPA)
                        HOMEOWNER: DONALD AND CARRIE HAGER
                        PROPERTY ADDRESS: 57 WASHINGTON AVE. LEONARDO, NJ. 07737
                        SELENE LOAN # 0000737965

     To Whom It May Concern:

     Please accept this correspondence as a Qualified Written Request (QWR) per the Real Es1tate
     Settlement Procedures Act (RESPA), codified as Section 2605 (e) of Title 12 of the United States
     Code. Even though some requested documentation was received in the past, the response
     contained incomplete or unenforceable documentation, which is pertinent in determining your
     organization's ability to collect the debt. Therefore, I am asking that you provide the folliowing
     requested documentation immediately:

                  ../   ORIGINAL 1003 LOAN APPLICATION
                  ../   GOOD FAITH ESTIMATE
                  ../   HUD-1 SETTLEMENT STATEMENT
                  ../   TRUTH IN LENDING DISCLOSURES STATEMENT
                  ./    CURRENT PROMISSORY NOTE RECORDED SHOWING LIENHOLDER

     In addition to the aforementioned requested documentation, please also furnish the Bailee
     Letter as required by the industry during the sale or transfer of debt along with any associated
     addendums to the promissory note (to include the allonge). The provisions set forth by TILA, 15
     U.S.C. 1641 (f)(2), require the creditor, new owner or assignee of the debt to notify the
     borrower in writing of such a sale or transfer. Additionally and to further support the request,
     the Uniformed Commercial Code {UCC) also requires that "within 30 days of each assignment,
     transfer, or sell, the assignment of true sale must be recorded under States' statute. The dates
     of the allonge endorsement(s) and the notarized assignment(s) must match to prove true sales
     before a foreclosure can legally occur."

     The final document request is pertaining to the Affidavit of Debt and I am requesting a copy be
     furnished by your organization as required. All lending institutions and debtors are required to
     attach an Affidavit of Debt at the same time this loan was sold or transferred by or to your



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   institution and per the FDCPA; this Affidavit must be provided by the seller with proper
   accounting on the payment history. If this debt has been sold multiple times, please provide an
   Affidavit for each sale or transfer as is required by federal and state law to prove up the v:alidity
   of the mortgage debt.
                                       DONALD AND CARRIE HAGER
                                       C/0 THE FRESH START FIRM
                                         POST OFFICE BOX 71476
                                        PHOENIX, ARIZONA 85050

   I thank you in advance for your cooperation in this matter and ask that you please send aH
   documentation to my attention at the address above as soon as possible.

   r~rely,



  t_b~L~1br--- l~,-~~-
     DONALD HAGER




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